                                                                              (SPACE BELOW FOR FILING STAMP ONLY)
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 4
 5      ATTORNEYS FOR      Defendant,
                           DEMETRIO CORTEZ-SALGADO
 6
 7
 8                                   UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10                                                     ********
11    UNITED STATES OF AMERICA,                                Case No.: 1:11-CR-00376-LJO
12                    Plaintiff,
                                                                     STIPULATION TO CONTINUE
13           vs.                                                           SENTENCING
                                                                      AND O R D E R OF DENIAL
14    DEMETRIO CORTEZ-SALGADO, et al.
15                   Defendant.
16
17          IT IS HEREBY STIPULATED and agreed by and between attorneys for the respective
18   clients that the Sentencing hearing currently on calendar for September 3, 2013, at 8:30 a.m., be
19   continued to September 23, 2013, at 8:30 a.m., or as soon thereafter as is convenient to the court’s
20   calendar. This continuance is requested by counsel for Defendant, Demetrio Cortez Salgado, due
21   to the fact that counsel will be out of the office on September 3, 2013.
22   Dated: August 29, 2013.                        Respectfully Submitted,
23                                                  NUTTALL & COLEMAN
24                                                  /s/ MARK W. COLEMAN
25
                                                    MARK W. COLEMAN
26                                                  Attorney for Defendant
27
28
     Case 1:11-cr-00376-LJO-BAM Document 129 Filed 08/29/13 Page 2 of 2


 1   Dated: August 29, 2013.       UNITED STATES ATTORNEY’S OFFICE
 2                                 /s/ KIMBERLY SANCHEZ
 3
                                   KIMBERLY SANCHEZ
 4                                 Assistant U.S. Attorney
 5
                                       *******
 6
                                        ORDER
 7
     THE REQUEST IS DENIED. GOOD CAUSE FOR A CONTINUANCE HAS NOT BEEN
 8
     PROVIDED TO THE COURT (I.E. WHAT THE CONFLICT IS, WHEN IT OCCURRED, ETC).
 9
     IT IS SO ORDERED.
10
     Dated:    August 29, 2013            /s/ Lawrence J. O'Neill  b9ed48
11                                       UNITED STATES DISTRICT JUDGE
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